           04-12771-mkv            Doc 731     Filed 10/12/17 Entered 10/13/17 00:26:02            Imaged
                                             Certificate of Notice Pg 1 of 3

2100 B (12/15)


                                   United States Bankruptcy Court
                                             Southern District of New York
                                               Case No. 04-12771-mkv
                                                      Chapter 7

In re: Debtor(s) (including Name and Address)

CashPoint Network Services, Inc.
143 West 72nd Street
New York NY 10023



                      NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

The Claim No(s). listed below was/were filed or deemed filed under 11 U.S.C. § 1111(a) in this case
by the alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of
Claim Other than for Security in the clerk’s office of this court on 10/03/2017.



Name and Address of Alleged Transferor(s):                                Name and Address of Transferee:
Claim No. 44: NIAGARA MOHAWK POWER CORP., A NATIONAL GRID INC.,           Dilks & Knopik, LLC
HISCOCK & BARCLAY LLP (SUSAN R. KATZOFF,, PO BOX 4878, FINANCIAL PLAZA,   35308 SE Center Street
221 S. WARREN STREET, SYRACUSE, NY 13221-4878                             Snoqualmie, WA 98065




                                   -- DEADLINE TO OBJECT TO TRANSFER --
The alleged transferor(s) of the claim is hereby notified that objections must be filed with the court
within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
court, the transferee will be substituted as the original claimant without further order of the court.


Date:    10/12/17                                     Vito Genna
                                                      CLERK OF THE COURT
              04-12771-mkv           Doc 731       Filed 10/12/17 Entered 10/13/17 00:26:02                          Imaged
                                                 Certificate of Notice Pg 2 of 3
                                               United States Bankruptcy Court
                                               Southern District of New York
In re:                                                                                                     Case No. 04-12771-mkv
CashPoint Network Services, Inc.                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0208-1                  User: mlopez                       Page 1 of 2                          Date Rcvd: Oct 10, 2017
                                      Form ID: trc                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 12, 2017.
3565390        +NIAGARA MOHAWK POWER CORP., A NATIONAL GRID INC.,   HISCOCK & BARCLAY LLP (SUSAN R. KATZOFF,,
                 PO BOX 4878,   FINANCIAL PLAZA,   221 S. WARREN STREET,   SYRACUSE, NY 13202-1859

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 12, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 3, 2017 at the address(es) listed below:
              Adam P. Wofse    on behalf of Defendant    MTW Check Cashing Corp. awofse@lhmlawfirm.com
              Allan S. Brilliant    on behalf of Unknown    Orange and Rockland Utilities, Inc.
               allan.brilliant@dechert.com, brett.stone@dechert.com
              Andrea Beth Schwartz    on behalf of U.S. Trustee    United States Trustee
               andrea.b.schwartz@usdoj.gov
              Andrew B. Eckstein    on behalf of Creditor    UGI Utilities, Inc. aeckstein@blankrome.com
              Andrew Howard Sherman    on behalf of Creditor    Greenwich Insurance Company
               asherman@sillscummis.com
              Arnold A. Barnabei    on behalf of Creditor    pa dept of rev RA-occbankruptcy3@state.pa.us,
               RA-occbankruptcy6@state.pa.us
              Barry R. Kleiner    on behalf of Creditor    Entergy Companies dkleiner@kkwc.com
              Bonnie Lynn Pollack    on behalf of Creditor Samuel Brevdeh bpollack@cullenanddykman.com
              Brian Jacob Dilks    cmecf@dilksknopik.com
              Darryl S. Laddin    on behalf of Creditor    Telesector Resources Group, Inc. d/b/a Verizon
               Services Group bkrfilings@agg.com
              David B. Grantz    on behalf of Plaintiff    Greenwich Insurance Company dgrantz@meyner.com
              David W. Dykhouse    on behalf of Petitioning Creditor    Time Warner Cable of New York City, a
               division of Time Warner Entertainment Company, L.P. dwdykhouse@pbwt.com, mcobankruptcy@pbwt.com
              Douglas Wolfe     on behalf of Creditor    ASM Capital, L.P. dwolfe@asmcapital.com
              Edith Stuart Phillips    on behalf of Interested Party    Texas Department of Banking
               stuart.phillips@oag.state.tx.us
              Elisa M. Pugliese    on behalf of Creditor    Long Island Lighting Company d/b/a LIPA, KeySpan Gas
               East Corporation d/b/a KeySpan Energy Delivery Long Island, The Brooklyn Union Gas Company d/b/a
               KeySpan Energy Delivery New York, et al. epugliese@cullenanddykman.com
              Elisabetta Gasparini     on behalf of U.S. Trustee    United States Trustee
               Elisabetta.G.Gasparini@usdoj.gov
              Gabriela P. Cacuci    on behalf of Creditor    City Of New York gcacuci@law.nyc.gov
              Harold D. Jones    on behalf of Defendant John S Pereira hjones@jonesschwartz.com,
               rlieman@jonesschwartz.com
              Irve J. Goldman    on behalf of Creditor    People’s Bank ijg@pullcom.com;jshearin@pullcom.com
              James P. Pagano    on behalf of Interested Party Debbie Stark jpaganoesq@aol.com,
               jpaganoesq@aol.com
              Janice Beth Grubin    on behalf of Creditor    American Payment Systems, Inc.
               Janice.Grubin@leclairryan.com, wendy.kane@leclairryan.com
              Jason H. Watson    on behalf of Defendant    Cox Communications Louisiana, LLC jawatson@wcsr.com
              Jeffrey H. Schwartz    on behalf of Creditor    Connecticut Light and Power Company
               jschwartz@jaspanllp.com
              Jil Mazer-Marino     on behalf of Defendant    Connecticut Natural Gas Corp. jmazermarino@msek.com,
               chapter7ecf@msek.com
              Jody Michelle Oster    on behalf of Creditor    The Huntington National Bank
               jody.oster@huntington.com
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                                       Certificate of Notice Pg 3 of 3


District/off: 0208-1         User: mlopez                 Page 2 of 2                  Date Rcvd: Oct 10, 2017
                             Form ID: trc                 Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Joel Lewittes     on behalf of Plaintiff John S. Pereira jlewittes1@aol.com
              John P. Foudy    on behalf of Creditor    National Union Fire Insurance Company of Pittsburgh, PA
               info@rnrlawgroup.com, jfoudy@rnrlawgroup.com
              John S. Pereira    on behalf of Trustee John S. Pereira pereiraesq@pereiralaw.com,
               pereiraesq@pereiralaw.com;N179@ecfcbis.com;lvu@pereiralaw.com;asinisi@pereiralaw.com
              John S. Pereira    pereiraesq@pereiralaw.com,
               pereiraesq@pereiralaw.com;N179@ecfcbis.com;lvu@pereiralaw.com;asinisi@pereiralaw.com
              John Story Wright    on behalf of Interested Party Richard Blumenthal john.wright@po.state.ct.us
              Karen L. Gilman    on behalf of Creditor    Greenwich Insurance Co. ecf@wolffsamson.com
              Mark S. Gamell    on behalf of Creditor    Fidelity & Deposit Co. of Maryland mgamell@tlggr.com
              Michael L. Schein    on behalf of Creditor    143 West Associates, Inc. mschein@vedderprice.com,
               ecfnydocket@vedderprice.com;docketing-6992@ecf.pacerpro.com;michael-schein-3874@ecf.pacerpro.com
              Nicholas F. Kajon    on behalf of Trustee Andre M. Toffel nfk@stevenslee.com
              Patrick Collins     on behalf of Petitioning Creditor    CSC Holdings, Inc.
               pcollins@farrellfritz.com
              Paul T. Gentile    on behalf of Defendant    Cross Bay Check Cashing Corp. pgentile@g-dlaw.com
              Robert Beau Leonard    on behalf of Creditor    Fidelity & Deposit Co. of Maryland
               rleonard@tlggr.com, canderson@tlggr.com
              Robert C. Reichelscheimer    on behalf of Defendant    Prescription Headquarters Flushing Plaza
               Inc. kalbrosenfeld@aol.com
              Ronald S. Gellert    on behalf of Creditor    Fidelity & Deposit Co. of Maryland
               rgellert@eckertseamans.com
              Scott K. Rutsky    on behalf of Creditor    PPL Services Corporation srutsky@proskauer.com,
               erodriguez@proskauer.com;mgiddens@proskauer.com;jzajac@proskauer.com
              Stuart Jay Glick    on behalf of Creditor    Greenwich Insurance Company stuart.glick@tklaw.com,
               diana.clavel@tklaw.com;justin.roberts@tklaw.com
              Susan R. Katzoff    on behalf of Creditor    Niagara Mohawk Power Corporation
               skatzoff@barclaydamon.com, lmcrobbie@barclaydamon.com
              The Huntington National Bank    ECF.Oster@huntington.com
              William S. Sugden    on behalf of Counter-Claimant    Cox Communications Louisiana, LLC
               will.sugden@alston.com
                                                                                               TOTAL: 44
